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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION

 COUNTY OF POWELL, a political                    Cause No.: CV 22-21-H-SEH
 subdivision of the State of Montana
              Plaintiff,
                                                  COUNTY OF POWELL’S RULE
       v.
                                                  26(a)(1) INITIAL DISCLOSURES
 UNITED STATES OF AMERICA,
              Defendant.

      Plaintiff County of Powell (“Powell County” or “County”), by and through
its counsel, hereby serves its initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1).
      The individuals, information, and documentation referenced in this
document are not intended as a list of witnesses that will be called or exhibits that
will be used by Powell County. Powell County may supplement these disclosures
if additional individuals, information, or documentation are subsequently
discovered. The individuals, information, and documentation referenced in this




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document are provided in good faith to comply with the requirements of Federal
Rule of Civil Procedure 26(a)(1).
(A)   The name, and, if known, the address and telephone number of each
      individual likely to have discoverable information that the disclosing
      party may use to support its claims or defenses unless solely for
      impeachment, identifying the subjects of the information:

      1.    Dan Sager, Commissioner
            c/o Gregory Schultz and Jeffrey Kuchel
            Crowley Fleck PLLP
            305 South 4th Street East, Suite 100
            Missoula, MT 59801
            (406) 523-3600
      Mr. Sager has been a Powell County Commissioner since 2019. He has
personal knowledge of the County’s public trail project known as the Old
Yellowstone Trail, the County’s assertion of its rights to County Road No. 9, and
the County’s official dealings with the Grant-Kohrs Site.
      2.    Ralph E. Mannix, Jr., Commissioner
            c/o Gregory Schultz and Jeffrey Kuchel
            Crowley Fleck PLLP
            305 South 4th Street East, Suite 100
            Missoula, MT 59801
            (406) 523-3600
      Mr. Mannix has been a Powell County Commissioner for many years. He
has personal knowledge of the County’s public trail project known as the Old
Yellowstone Trail, the County’s assertion of its rights to County Road No. 9, and
the County’s official dealings with the Grant-Kohrs Site.
      3.    Doug Crachy, Commissioner
            c/o Gregory Schultz and Jeffrey Kuchel
            Crowley Fleck PLLP
            305 South 4th Street East, Suite 100
            Missoula, MT 59801
            (406) 523-3600


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      Mr. Crachy has been a Powell County Commissioner since 2019. He has
personal knowledge of the County’s public trail project known as the Old
Yellowstone Trail, the County’s assertion of its rights to County Road No. 9, and
the County’s official dealings with the Grant-Kohrs Site.
      4.     Kathryn McEnery, Powell County Attorney
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Ms. McEnery has been the duly elected County Attorney for Powell County
since 2018. She has personal knowledge of the County’s efforts to create that
public trail project known as the Old Yellowstone Trail, the design features of the
Trail, the County’s dealings and negotiations with private landowners regarding
the Trail, and the County’s dealings and communications with the Grant-Kohrs
Site regarding the Trail. She also has knowledge of the County’s establishment
and current existence of County Road No. 9.
      5.     Lewis K. Smith, Powell County Attorney (former)
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Mr. Smith is the former Powell County Attorney and immediate predecessor
to Ms. McEnery. Mr. Smith has knowledge of the County’s initial efforts to
establish the public trail project known as the Old Yellowstone Trail and the
County’s dealings and negotiations with the Grant-Kohrs Site regarding the Trail,
and regarding all other matters, during his term of office.




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      6.     Jody Walker, Powell County Clerk and Recorder
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Ms. Walker is the current Clerk and Recorder and Assessor of Powell
County. In such capacity, she has all knowledge of documents of public record
pertaining to the Grant-Kohrs Site and adjoining real property. She also serves as
de facto Secretary to the County Commissioners and, in such capacity, has
knowledge of the organization and contents of the records of the County
Commissioners.
      7.     Cele Pohle, Commissioner (former)
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Ms. Pohle is the former Assessor of Powell County from 1987 through 2008
and County Commissioner from 2009 through 2014. Ms. Pohle has knowledge of
all communications, dealings, and transactions with the Grant-Kohrs Site during
her term as Commissioner.
      8.     Jonathan Weaver, PE, CFM
             Great West Engineering
             2501 Belt View Drive
             Helena, MT 59601
             (406) 449-8627
      Mr. Weaver is the lead engineer for the design and construction of the
County’s Old Yellowstone Trail project. He has personal knowledge of the history
of the Trail project, the dealings and negotiations with adjoining private




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landowners, and the County’s dealings and negotiations with the Grant-Kohrs Site
regarding the relevant portion of the Trail project
      9.     Amanda Cooley, Powell County Planner
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Ms. Cooley is the current Planning Director for Powell County. In such
capacity, she has knowledge of the County’s public trail project known as the Old
Yellowstone Trail, including dealings and negotiations with the Grant-Kohrs Site
regarding the Trail during her term as Planner.
      10.    Scott Hazelton, Powell County Planner (former)
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Mr. Hazelton is the former Planning Director for Powell County. He has
knowledge of the County’s efforts at establishing the public trail known as the Old
Yellowstone Trail and the County’s dealings and negotiations with the Grant-
Kohrs Site regarding that Trail during his term of office.
      11.    Carl Hamming, Powell County Planner (former)
             c/o Gregory Schultz and Jeffrey Kuchel
             Crowley Fleck PLLP
             305 South 4th Street East, Suite 100
             Missoula, MT 59801
             (406) 523-3600
      Mr. Hamming is the current Planning Director for Anaconda-Deer Lodge.
He is the former Planning Director for Powell County. He has knowledge of the
County’s dealings and negotiations with the Grant-Kohrs Site regarding the Old
Yellowstone Trail during his term of office.

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      12.     Andy Fischer, President, County Parks and Trails Board
              c/o Gregory Schultz and Jeffrey Kuchel
              Crowley Fleck PLLP
              305 South 4th Street East, Suite 100
              Missoula, MT 59801
              (406) 523-3600
      Mr. Fischer is the current President of the Powell County Parks and Trails
Board, which is a division of the County’s Planning Department. In such capacity,
Mr. Fischer has knowledge of the County’s efforts to create that public trail system
known as the Old Yellowstone Trail, including the County’s dealings and
negotiations with the Grant-Kohrs Site regarding the Trail.
      13.     Jacqueline LaVelle, Superintendant of Grant-Kohrs Site
              c/o Counsel for Defendant
      Ms. LaVelle is believed to be the current or former Superintendent of the
Grant-Kohrs Site. She is believed to have knowledge of all communications,
dealings, and negotiations with Powell County during her term as Superintendent,
including, but not limited to, the existence of County Road No. 9, public use of the
pathway of said Road, the County’s efforts to create that public trail project known
as the Old Yellowstone Trail, and the County’s assertion to its right to County
Road No. 9.
      14.     Ted Mizner
              801 St. Mary’s Ave.
              Deer Lodge, MT 59722
              (406) 846-1614
      Mr. Mizner is an attorney and has served as the Powell County Attorney and
a Montana District Judge. He has knowledge of the use of the County Road, the
understanding of the status of the County Road, and interactions with prior owners
of the property at issue, including Conrad Warren.




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      15.      Powell County may rely on any other individual identified by the
Defendant during the course of litigation, or identified by third parties during
depositions or discovery, to support its claims or defenses.
(B)    A copy of, or a description by category and location of, all documents,
       data compilations, and tangible things that are in the possession,
       custody, or control of the party and that the disclosing party may use to
       support its claims or defenses, unless solely for impeachment.
      Produced herewith are documents bates numbered PC-00001–01874, which
are generally described, for convenience purposes, as follows:
      1.      Correspondence to Superintendant Jacqueline Lavelle dated January
              15, 2021, and exhibits 1–33 thereto [PC-00001–00099].
      2.      General Land Office (GLO) surveys, maps, and field notes of thereof,
              surveys from 1868 and 1869 [PC-00100–00206].
      3.      1864 Territory of Montana map [PC-00207].
      4.      Deer Lodge County 1868 Road Book, Districts 1 and 4 [PC-00208–
              00213].
      5.      Powell County Commissioners’ and Road Book Journal pages from
              1903, 1907, 2008, 2010 [PC-00214–00228].
      6.      1911 Powell County Map [PC-00229–00230].
      7.      1921 Letter to County Commissioners [PC-00231–00234].
      8.      1921 Survey Map of Deer Lodge and vicinity [PC-00235–00236]
      9.      1920 Land Classification survey maps [00237–00243].
      10.     Recorded deeds for property near or within Grant Kohrs site [PC-
              00244–00296].
      11.     USGS aerial photographs taken 1955, 1966, 1976, 1977 [PC-00297–
              00301].
      12.     USGS Topographic Maps; Butte, Butte North, Deer Lodge Quad., and
              Conleys Lake Quad. From 1958, 1961, 1966, 1970, 1980, 1994, 2011,
              2020 [PC-00302–00312].
      13.     Water Resources Survey, Powell County, 1959 [PC-00313-00410].
      14.     1977 General Highway Map, Powell County [PC-00411–00414].



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      15.   Historic American Buildings Survey (HABS) MT-39, Grant-Kohrs
            Ranch, Highway 10, Library of Congress [PC-00415–00431].
      16.   Water rights documents [PC-00432–00442].
      17.   National Register of Historic Places Application [PC-00443–00582].
      18.   National Park Service publications/reports from 2004, 2009, 2014,
            2015 [PC-00583–01605].
      19.   DEQ/TetraTech report, 2015 [PC-01606–01825].
      20.   Old Yellowstone Trail – Phase 2 map [PC-01826].
      21.   Correspondence from GKR dated Jan. 27, 2021, with attachments [PC-
            01827–01877].
      22.   All records of Deer Lodge County and Powell County which address/
            describe the subject County Road, in the possession of and located in
            the official records of said Counties.
      23.   Correspondence with representative of the Grant Kohrs Site. Currently
            in the possession of the Powell County Attorney and Defendant.
(C)   A computation of any category of damages claimed by the disclosing
      party, making available for inspection and copying as under Rule 34 the
      documents or other evidentiary material, not privileged or protected
      from disclosure, on which such computation is based, including
      materials bearing on the nature and extent of injuries suffered.
      Not applicable.
(D)   For inspection and copying as under Rule 34 and any insurance
      agreement under which any person on an insurance business may be
      liable to satisfy part or all of a judgment which may be entered in the
      action or to indemnify or reimburse for payments made to satisfy the
      judgment.
      Not applicable.
      DATED this 5th day of August, 2022.
                                      CROWLEY FLECK PLLP
                                      By: Jeffrey R. Kuchel
                                         Gregory G. Schultz
                                         Jeffrey R. Kuchel
                                      Attorneys for Plaintiff


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                        CERTIFICATE OF SERVICE
      I hereby certify that on August 5, 2022, the foregoing was served upon the
following counsel of record, by the means designated below.
[ ]   U.S. Mail                 Mark Steger Smith
[ ]   FedEx                     Assistant U.S. Attorney
[ ]   Hand-Delivery             2601 2nd Ave. North, Suite 3200
[x]   CM/ECF                    Billings, MT 59101
[x]   Email                     mark.smith3@usdoj.gov

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                                Attorneys for Defendant United States




                                 /s/ Jeffrey R. Kuchel
                                 Jeffrey R. Kuchel




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